    Case 6:17-cv-06659-EAW-JWF Document 1 Filed 09/21/17 Page 1 of 12



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

-----------------------------------------------------------------

JONATHAN SOLOMON,

                           Plaintiff,
                                                    VERIFIED COMPLAINT
        - vs -
                                              Civil Case No.
CITY OF ROCHESTER,
ROCHESTER POLICE DEPARTMENT,
and ROCHESTER POLICE OFFICER(S)
IDENTITIES UNKNOWN,
                        Defendants.

PLAINTIFF DEMANDS A TRIAL BY JURY
-----------------------------------------------------------------

     The Plaintiff, JONATHAN SOLOMON, by and through his attorney,

LELAND T. WILLIAMS, ESQ., complaining of the Defendants, alleges as

follows:

                             INTRODUCTION

     1.    Plaintiff, JONATHAN SOLOMON, at all relevant times to the

events described herein has a residence at 32 Stanton Street, City

of Rochester, the County of Monroe and State of New York.

     2.    Upon information and belief, defendant City of Rochester,

is and was at all relevant times hereinafter mentioned a municipal

corporation located within the County of Monroe and State of New

York.

     3.    Upon information and belief, defendant Rochester Police

Department, is a department within the City of Rochester, which as

mentioned is a municipal corporation located within the County of

Monroe and State of New York.

                                  -1-
       Case 6:17-cv-06659-EAW-JWF Document 1 Filed 09/21/17 Page 2 of 12



       4.    Upon information and belief, defendant ROCHESTER POLICE

OFFICER(S) IDENTITIES UNKNOWN, were residents of the County of

Monroe and State of New York.

       5.    Upon information and belief, other unnamed defendants

from the Rochester Police Department were present and responsible,

and will be named, identified and added as they become known.

                                   JURISDICTION

       6.    This action is brought pursuant to 42 U. S. C. Sections

1983, 1985 and 1988 and the First, Fourth, Fifth, Eighth and

Fourteenth Amendments to the United Constitution.

       7.    Jurisdiction is founded upon 28 U. S. C. Sections 1331

and 1341 (3) and (4) and the aforementioned statutory provisions.

       8.    Plaintiff further invokes the pendant jurisdiction of

this Court to hear and decide claims arising under New York State

law.

       9.    A Notice of Claim, dated September 22, 2016, was timely

filed     with   the   City   of    Rochester     and   the   Rochester    Police

Department,      New   York   pursuant    to   the   New   York   State   General

Municipal Law.

       10.   A hearing pursuant to 50-h of the General Municipal Law

was scheduled, but cancelled due to inclement weather in March,

2017, and was never rescheduled.

       11.   More than thirty (30) days have elapsed since the service

of the Notice of Claim and there has been no adjustment of payment.


                                         -2-
    Case 6:17-cv-06659-EAW-JWF Document 1 Filed 09/21/17 Page 3 of 12



     12.   This action was commenced within one (1)year and ninety

days (90) of the happening of the events herein alleged.

     13.   No previous lawsuits and/or administrative relief have

been pursued.

                                 FACTS

     14.   On or about June 24, 2016, at approximately 6:00 p.m.,

the plaintiff was injured by the defendants, at or near the

intersection of Maple and Grape Streets, Rochester, New York.

     15.   The intersection is in the City of Rochester, Monroe

County and State of New York.

     16.   At all relevant times the ROCHESTER POLICE OFFICER(S)

IDENTITIES UNKNOWN defendants were acting under the color of state

law within the meaning of U. S. C. § 1983 and under the guise and

scope of their employment as police officers for defendant, and

under the policies, customs and usages of New York State, the City

of Rochester and the Rochester Police Department.

     17.   At all relevant times the defendants City of Rochester

and Rochester Police Department are responsible and liable for the

acts, omissions and conduct of the individual ROCHESTER POLICE

OFFICER(S) IDENTITIES UNKNOWN, and for the injuries, loss, costs

and damages suffered.

     18.   At the above referenced date and time, the individual

defendants ROCHESTER POLICE OFFICER(S) IDENTITIES UNKNOWN were

uniformed officers of the Rochester Police Department and operating

separate marked Rochester Police Department patrol cars.

                                  -3-
    Case 6:17-cv-06659-EAW-JWF Document 1 Filed 09/21/17 Page 4 of 12



     19.   On or about Friday, June 24, 2016, at about 6:00 p.m, the

plaintiff was walking near the intersection of Maple and Grape

Streets in the City of Rochester.            A Rochester Police Department

patrol cars pulled over and the officer exited it, apparently

looking to stop and question plaintiff.             As police inquiry began,

plaintiff ran from and was chased on foot and by patrol car by

uniformed Rochester Police Officers.

     20.   Plaintiff was quickly apprehended by police.                  He was

“tased” and immediately surrendered.               At that location, while

handcuffed    behind    his    back,   Plaintiff     was    intentionally   and

purposefully brutally attacked and beaten by ROCHESTER POLICE

OFFICER(S) IDENTITIES UNKNOWN, who repeatedly punched him in his

head, face and body.         This beating was       without justification or

provocation.

     21.   Other officers and supervising officers present at the

scene did nothing to stop this assault, use of excessive force and

physical brutality.

     22.   As a direct consequence of this assault, the plaintiff

suffered     facial    and    head   wounds.   He    also    sustained    cuts,

lacerations, bruises, swelling and pain over his entire body.               Due

to the nature and extent of his injuries, he wwent to the Emergency

Department at Strong Memorial Hospital.

     23.   Beyond this initial emergency procedure, the plaintiff

has had follow up treatment for complications related to this

injury.

                                       -4-
    Case 6:17-cv-06659-EAW-JWF Document 1 Filed 09/21/17 Page 5 of 12



     24.   In addition to the injuries suffered above, the plaintiff

has suffered permanent disfigurement, scarring, embarrassment and

humiliation.

     25.   At all times during the events described each of the

individual defendant ROCHESTER POLICE OFFICER(S) IDENTITIES UNKNOWN

acted jointly.

     26.   At all times during the events described each of the

individual defendant ROCHESTER POLICE OFFICER(S) IDENTITIES UNKNOWN

failed to intervene to stop or prevent the excessive use of force

and physical brutality used against the plaintiff.

     27.   At all time during the events described each of the

individual defendant ROCHESTER POLICE OFFICER(S) IDENTITIES UNKNOWN

knew from their training and experience that excessive force and

physical brutality was used on this plaintiff.

     28.   Each of these defendants, ROCHESTER POLICE OFFICER(S)

IDENTITIES UNKNOWN, despite this training, experience and governing

departmental regulations, intentionally engaged in this conduct of

excessive force and physical brutality to willfully and maliciously

beat this plaintiff.

     29.   The plaintiff was arrested and charged with criminal

offenses, booked into the Monroe County Jail and detained for

prosecution in Rochester City Court.

                      FIRST CAUSE OF ACTION: BATTERY

     30.   For the purpose of this cause of action, the plaintiff

incorporates     by    reference   each   and   every   of   the   previous

paragraphs.

                                    -5-
      Case 6:17-cv-06659-EAW-JWF Document 1 Filed 09/21/17 Page 6 of 12



      31.   The actions of each of the defendants, ROCHESTER POLICE

OFFICER(S) IDENTITIES UNKNOWN by hitting, kicking, punching and

striking the plaintiff with their hands and knees, was conducted in

an offensive manner and intended to cause harm and injury to the

plaintiff constituting a battery upon the plaintiff.

      32.   As a direct and proximate result of the battery, the

plaintiff suffered harm, pain, injury, mental anguish, shame,

emotional distress and humiliation. In addition, the plaintiff

contends the intended conduct of each of the defendants ROCHESTER

POLICE OFFICER(S) IDENTITIES UNKNOWN was malicious and vindictive.

                       SECOND CAUSE OF ACTION: ASSAULT

      33.   For the purpose of this cause of action, the plaintiff

incorporates      by    reference   each   and   every   of    the   previous

paragraphs.

      34.   The actions of each of the defendants ROCHESTER POLICE

OFFICER(S) IDENTITIES UNKNOWN through their words, overt actions

and   gestures,    intentionally    placed   the   plaintiff    in   fear   of

imminent harmful, offensive contact and injury from each of the

defendants.

      35.   As a direct and proximate result of the assault, the

plaintiff suffered fear, mental anguish and emotional distress. In

addition, the plaintiff contends the intended conduct of each of

the defendants was malicious and vindictive.



                                     -6-
    Case 6:17-cv-06659-EAW-JWF Document 1 Filed 09/21/17 Page 7 of 12



THIRD CAUSE OF ACTION: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

     36.   For the purpose of this cause of action, the plaintiff

incorporates      by   reference   each      and    every       of   the    previous

paragraphs.

     37.   The    outrageous   actions       of    each    of    the   defendants,

ROCHESTER POLICE OFFICER(S) IDENTITIES UNKNOWN by threatening,

assaulting,      beating,   seizing,     arresting        and    prosecuting      the

plaintiff collectively and individually constitutes extreme and

outrageous conduct that should be tolerated in a civilized society.

     38.   The    outrageous   actions       of    the   defendants,       ROCHESTER

POLICE OFFICER(S) IDENTITIES UNKNOWN were intended to cause, and

was in utter disregarded of the severe emotional distress such

actions caused to the plaintiff.

     39.   As a result of the outrageous conduct of each of the

defendants, ROCHESTER POLICE OFFICER(S) IDENTITIES UNKNOWN the

plaintiff suffered extreme emotional distress.                   In addition, the

plaintiff contends the intended conduct of each of the defendants

was malicious and vindictive.



                  FOURTH CAUSE OF ACTION: CIVIL RIGHTS

     40.   For the purpose of this cause of action, the plaintiff

incorporates      by   reference   each      and    every       of   the   previous

paragraphs.

     41.   The plaintiff contends the above acts of assault and

battery,   malicious     prosecution      and     intentional        infliction    of

                                       -7-
    Case 6:17-cv-06659-EAW-JWF Document 1 Filed 09/21/17 Page 8 of 12



emotional distress collectively and individually committed by each

of the defendants ROCHESTER POLICE OFFICER(S) IDENTITIES UNKNOWN

constitute violations of plaintiff's Fourth, Fifth, Eighth and

Fourteenth Amendment Rights as guaranteed by the United States

Constitution.

     42.   The   plaintiff   further    contends,   the   actions   of   the

defendants   ROCHESTER   POLICE   OFFICER(S)    IDENTITIES    UNKNOWN    in

detaining, seizing and arresting the plaintiff was without probable

cause; in subjecting the plaintiff to unreasonable search and

seizure, and by the use of excessive force in the course of said

arrest, and during the subsequent detention was also in violation

of the plaintiff's rights under the United States Constitution.

     43.   These   actions   of   the    defendants   ROCHESTER     POLICE

OFFICER(S) IDENTITIES UNKNOWN were in violation of the plaintiff's

constitutional rights pursuant to 42 U.S.C. §§ 1981, 1983, 1985 and

1988, and were performed under the color of state law by each of

the defendants as members of the Rochester Police Department.

     44.   As a direct and proximate result of the aforementioned

acts and their deliberate indifference of each of the defendants,

the plaintiff suffered inhumane physical abuse, pain, physical

injury, permanent disfigurement, loss of freedom, expenses, mental

anguish, shame, emotional distress, humiliation, ridicule, damage

to reputation and embarrassment.

     45.   The plaintiff makes claim for recovery of attorney's fees

and expenses incurred pursuant to 42 U.S.C. § 1988.


                                  -8-
     Case 6:17-cv-06659-EAW-JWF Document 1 Filed 09/21/17 Page 9 of 12



             FIFTH CAUSE OF ACTION: CIVIL RIGHTS ACTION
                      AGAINST CITY OF ROCHESTER

     46.    For the purpose of this cause of action, the plaintiff

incorporates       by    reference     each      and     every   of     the    previous

paragraphs.

     47.    Prior       to   the    events    described       above,    the    City     of

Rochester developed and maintained policies or customs exhibiting

deliberate indifference to the constitutional rights of persons in

Rochester, which caused the violation of the plaintiff's rights.

     48.    It was the policy and/or custom of the City of Rochester

to inadequately and improperly investigate citizens complaints of

police misconduct, and acts of misconduct were instead tolerated by

the City of Rochester.

     49.    It was the policy and/or custom of the City of Rochester

to inadequately supervise and train its police officers, including

the individual defendants, thereby failing to adequately discourage

further    constitutional          violations    on     the   part     of   its    police

officers.    The    City     of    Rochester     did    not   require       appropriate

in-service training or re-training of officers who were known to

have engaged in police misconduct.

     50.    As a result of the City of Rochester's policies and

customs, the police officers of the City of Rochester, including

the individual defendants ROCHESTER POLICE OFFICER(S) IDENTITIES

UNKNOWN believed that their actions would not be properly monitored

by   supervisory        officers     and     that      misconduct      would      not   be

investigated or sanctioned, but would be tolerated.


                                           -9-
     Case 6:17-cv-06659-EAW-JWF Document 1 Filed 09/21/17 Page 10 of 12



      51.    These policies and customs demonstrated a deliberate

indifference on the part of policymakers and supervisory personnel

of the City of Rochester to the constitutional rights of persons

within the city of Rochester, and were the cause of the violations

of   the    plaintiff's    rights   as   alleged   which   resulted    in   his

injuries.

PLAINTIFF HEREBY DEMANDS A TRIAL BY JURY

      WHEREFORE, the plaintiff demands judgment against defendants

for damages sustained by the plaintiff as follows:

      A.     As to the First Cause of Action $1,000,000.00;

      B.     As to the Second Cause of Action $1.000.000.00;

      C.     As to the third Cause of Action $1,000,000.00;

      D.     As to the Fourth Cause of Action $1,000,000.00;

      E.     As to the Fifth Cause of Action $1,000,000.00;

      F.     Together     with   punitive   damages   against   each   of the

             individual defendants as is deemed just and proper;

      G.     Together with reasonable attorney's fees to be awarded to

             the plaintiff pursuant to 42 U. S. C. §1988;

      H.     Together with the costs and disbursements of this action;

             and

      I.     Such other and further relief as to this Court may deem

             just and proper.




                                     -10-
      Case 6:17-cv-06659-EAW-JWF Document 1 Filed 09/21/17 Page 11 of 12



DATED: Rochester, New York          Yours, etc.
       September 21, 2017
                                    LELAND T. WILLIAMS, ESQ.
                                    Attorney for Plaintiff
                                    95 Allens Creek Road
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                                    Rochester, NY 14618
                                    Telephone: (585) 292-1110
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To:    THE CITY OF ROCHESTER
       Department of Law
       City Hall Room 400A
       30 Church Street
       Rochester, NY 14614-1295




                                    -11-
   Case 6:17-cv-06659-EAW-JWF Document 1 Filed 09/21/17 Page 12 of 12




                                 VERIFICATION

STATE OF NEW YORK)
COUNTY OF MONROE )        ss.:

     LELAND T. WILLIAMS, an attorney, duly admitted to practice law

in the State of New York, under the penalties of perjury, affirms

the following: I am the attorney for the Plaintiff in this action

and that the foregoing Complaint is true to my knowledge, except as

to those matters therein stated on information and belief and as to

those matters I believes it to be true; that the grounds of my

belief   as    to   all   matters   not   stated    upon   my   knowledge   are

correspondence and other writings furnished to me by Plaintiff and

interviews with Plaintiff and others and that the reason why the

verification is not made by Plaintiff is that Plaintiff resides

outside the county in which I maintains my office.




Dated:        September 21, 2017
              Rochester, New York


                                            S/
                                                   LELAND T. WILLIAMS




                                     -12-
